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                             UNITED   STATES      DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                   Newport News Division

  UNITED STATES OP AMERICA,



         v.                                                          CRIMINAL NO.       4:08crl6-3


  DAVID ANTHONY RUNYON,


                Defendant.


                                      MEMORANDUM       ORDER


         This    matter      comes    before        the       court     on     the     Motion      for


  Appointment of Counsel for Proceedings Pursuant to 28 U.S.C.                                § 2255

  ("Motion")     and   supporting         Memorandum         of   Law   ("Memorandum"),           both

  filed on November 14, 2013,               by J.       T.    Stanton,       Esquire.1 For the



  1 At a threshold           level,       the   court        questions       the     authority     and
  propriety of Ms. Stanton to submit and sign pleadings listing
  herself as "Local Counsel for David Anthony Runyon." See Mot. at 2,
  Nov.   14,   2013,   ECF   No.   392;    Mem.   at    9,    Nov.    14,    2013,    ECF   No.   392-
  1. She obviously has not been retained by the Defendant, based on
  her Motion to be appointed as his counsel; nor has the Defendant
  signed the Motion; nor has his current appellate counsel signed the
  Motion; nor does Ms. Stanton even represent that she has consulted
  the Defendant or his appellate counsel about filing the Motion,- nor
  has Ms. Stanton been counsel in this case at any stage of the trial
  or ongoing appellate proceedings; nor has the court yet appointed
  her as counsel for any proceeding in this case. Moreover, she did
  not even forward a copy of her Motion and Memorandum to the
  Defendant or his current appellate counsel, according to her signed
  Certificates of Service on these filings.
        Even more troubling is the fact that Ms. Stanton filed an
  Appearance of Counsel, despite the foregoing, stating that she was
  appearing in the case as "Local counsel for David Anthony Runyon,"
  and the Clerk has thus entered her appearance on the docket. See
  Notice of Attorney Appearance,    Nov. 14, 2013,   ECF No. 391.    The
  court   will  separately address   this  potential    impropriety   in
  subsequent orders and proceedings. E.g., Cartensen v. Chrisland
  Corp. , 247 Va. 443, 447 (Va. 1994) (explaining that "[w]hether a
  contract   employing  an attorney   is  express  or    implied,   some
  indication that the advice and assistance of the attorney was
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  reasons        discussed        below,       the        Motion     is     DENIED,        as     is      the

  Application to Qualify as a Foreign Attorney Under Local Civil Rule

  83.1(D)       and    Local   Criminal     Rule       57.4,       filed    on November 14,             2013,

  with the Motion.


                                                     I.


          The    Defendant,         David Anthony          Runyon,        pursuant    to    the     jury's

  verdict and recommendation under the Federal Death Penalty Act,                                          18

  U.S.C.    § 3594,         was     sentenced        to    death     on    December 4,          2009.     The

  United States Court of Appeals for the Fourth Circuit affirmed the


  sought and received is integral to the creation of the attorney-
  client relationship"); see E.D. Va. Loc. Crim. R. 57.4(1) (stating
  that the "ethical standards relating to the practice of law in
  criminal       cases in this        Court shall be Section II of Part Six of                            the
  Rules     of        the   Virginia       Supreme         Court     [the       Virginia        Rules      of
  Professional          Conduct]");     E.D.     Va.       Loc.    Civ.    R.   83.1(1)     (same        with
  respect to civil cases before this court); Virginia Rule of
  Professional Conduct 1.2(a) ("A lawyer shall abide by a client's
  decisions concerning the objectives of representation . . . and
  shall consult with the client as to the means by which they are to
  be pursued."); id. § 1.2(d)   ("A lawyer may take such action on
  behalf of the client as is impliedly authorized to carry out the
  representation."); see also E.D. Va. Loc. Crim. R. 57.4(G) ("No
  attorney who has entered an appearance in any criminal action shall
  withdraw such appearance, or have it stricken from the record,
  except on order of the Court and after reasonable notice to the
  party on whose behalf said attorney has appeared."); E.D. Va. Loc.
  Civ. R. 83.1(G) (same with respect to civil actions); see generally
  Fed.  R. Civ.   P. 11(b)(1),   (2),  and  (3)  (stating that  "[b]y
  presenting to the court a pleading, written motion, or other paper—
  whether by signing, filing, submitting, or later advocating it—an
  attorney or unrepresented party certifies that to the best of the
  person's knowledge, information, and belief, formed after inquiry
  reasonable under the circumstances . . . it is not being presented
  for any improper purpose" that the "legal contentions are warranted
  by existing law" and that the "factual contentions have evidentiary
  support"). Finally, both the Federal Rules of Criminal Procedure
  and the Federal Rules of Civil Procedure apply to federal habeas
  corpus proceedings. See Rules Governing § 2255 Proceedings, Rule
  12,   28 U.S.C.A.         foil.    § 2255.
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  Defendant's           conviction           and       sentence           on     direct         appeal       on

  February 25, 2013.            United States v. Runyon,                      707 F.3d 475        (4th Cir.

  2013).    Rehearing en banc was denied.                          United States v.             Runyon,     No.

  09-11     (4th        Cir.     Mar. 25, 2013)               (Order          denying         petition      for

  rehearing en banc) . The Defendant then filed a petition for a writ

  of    certiorari        with    the        Supreme       Court         of    the     United    States      on

  August 21, 2013,             which    is    currently            pending.      No     response       to   the

  petition        has     been     filed           and       one     is        not     even      due     until

  January 22, 2014.2

                                                       II.


          Ms.    Stanton filed the instant Motion on November 14,                                  2013.     In

  the Motion,       Ms.    Stanton asks the court to appoint two attorneys to

  represent        the     Defendant              in     pursuing         post-conviction              relief,

  including the preparation of a motion pursuant to 28 U.S.C.                                          § 2255.

  Specifically, she asks the court to appoint her, a private attorney

  admitted to       the bar of           this      court,      and a          federal public defender

  from the District of Maryland.3 Moreover,                               she asks for appointment


  2 See the Supreme Court docket sheet for Runyon v.                                      United States,
  No.   13-254     (2013),       which       is    attached         to    this    Memorandum       Order     as
  Exhibit A.


  3 Apparently, the federal public defender from Maryland is the only
  other counsel Ms. Stanton consulted prior to her filings. See Mot.
  at 1; Mem. at 1-2, 4-8; supra note 1. Ms. Stanton does make a
  passing statement in her Memorandum that "Chief Judge Traxler has
  already been contacted and has stated that he has no objection to
  the appointment." Mem. at 1. However, no documentation whatsoever
  for     this    statement,           such       as   a     letter,          email,     or    some     record
  thereof, is provided, and it is difficult to envision that the
  Chief Judge of the Fourth Circuit gave some kind of verbal, non-
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 of   counsel        for   collateral         proceedings          even   prior    to     the       Supreme

 Court's       decision         on    the        Defendant's       petition       for     a     writ     of

 certiorari .4

         In    her    Memorandum,        Ms.          Stanton   cites     no    authority       for     the

 proposition that the court is required to appoint post-conviction

 counsel,      prior to         the Supreme Court's decision on the Defendant's

 petition for a writ of certiorari.5 Additionally, it is unclear from


 record       statement     to       either       Ms.    Stanton     or   the     Maryland          federal
 public defender on such an important criminal matter. In any event,
 such lack of objection does not change the substance of the court's
 ruling on the Motion. However, the court will certainly explore
  this assertion made in a signed pleading by a member of the bar of
  this court, when it addresses any potential impropriety in the
  filings. See supra note 1.

  4 See supra note 2 and accompanying text.

  5 The case Ms.           Stanton      cites as binding authority,                     McFarland v.
  Scott,      512 U.S. 849       (1994), establishes a right to legal assistance
  prior to filing a habeas corpus petition for capital defendants in
  federal habeas corpus proceedings. See Mem. at 2-3. The case,
  however, does not involve the appointment of counsel prior to the
  conclusion   of  proceedings   on  direct  appellate   review.  See
  McFarland, 512 U.S. at 851-54. Thus, while McFarland entitles the
  Defendant to legal assistance prior to the filing of his § 2255
  petition, it does not require the court to appoint counsel prior to
  the conclusion of proceedings on direct appeal, nor does it even
  suggest that the court should do so.
         In    her    Memorandum,       Ms.       Stanton       states    that    "[i]t       has    become
  the practice in capital § 2255 cases to have counsel in place when
  the statute of limitations begins to run." Mem. at 2. Support for
  this     statement       is    then       in    a     footnote    in    which    she     cites       five
  unpublished decisions from other district courts. Mem. at 2-3 n.4.
  This authority is weak support, at best, for such an unequivocal
  statement in text, particularly United States v. Basham, in which
  the district court appointed § 2255 counsel, with the appointment
  to take effect only if and when the Supreme Court denied the
  defendant's petition for certiorari. See United States v. Basham,
  No. 4:02cr992 (D.S.C. Sept. 18, 2009) (Order conditionally granting
  motion to appoint § 2255 counsel), ECF No. 1247.
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  her Memorandum why the court should appoint Ms. Stanton,6 when there

  are    numerous       qualified            attorneys           in    this          district,      as    well    as

  groups     of        attorneys          specializing                in        capital          post-conviction

  proceedings,         such as         the Virginia Capital                         Representation Resource

  Center,    located             within      this     state.7         It       is    also    unclear      at   this

  premature       stage          whether       the        Defendant            needs        two    attorneys      to

  represent       him       in     post-conviction                proceedings.               By    statute,      the

  Defendant       is    entitled          to    the        appointment              of    only    one    qualified

  attorney    to       assist          him     in     preparing            a     habeas         corpus   petition

  pursuant to 28 U.S.C.                § 2255. See 18 U.S.C.                     § 3599(a)(2).

                                                          III.


          For the foregoing reasons,                       the court finds that appointment of

  counsel for collateral proceedings in this case,                                          before the direct

  appellate        review           process          is      complete,               is     premature.8          Such


  6 Ms.    Stanton has no particular or specialized expertise,                                               to the
  court's knowledge, in federal death penalty habeas corpus cases.
  The cases she cites in her Memorandum as examples of her experience
  involve only her work as trial counsel on death penalty cases and
  as appellate counsel in non-death penalty cases. Nor has Ms.
  Stanton had any involvement in this case at bar. See supra note 1.

  7 The    court       is    well      aware        that    the       Office         of   the     Federal    Public
  Defender for the Eastern District of Virginia has a conflict in the
  Defendant's case,  because it represented a co-defendant at the
  trial stage. The court is also well aware of the specialized
  qualifications of Ms. Friedman and the Maryland public defender.
  However, the court is not required to appoint a federal public
  defender to represent the Defendant in post-conviction proceedings,
  and it is too early for the court to make this decision in the
  Defendant's case.              See   infra Part III.


  8 Ms. Stanton makes an argument that the appointment of counsel at
  this    juncture          is    necessary          to    provide         the       Defendant       "with     ample
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  appointment may not even be appropriate,                    depending upon the outcome

  of     the      direct       appellate         review     process,      thereby      creating

  unnecessary expenses and waste of                  legal resources.          The Defendant's

  appellate       counsel       can    petition     on    behalf   of    the    Defendant     for

  appointment of habeas corpus counsel,                     if warranted,       following the

  conclusion of the direct appellate review proceedings.9 Also,                                at

  that    time,       the    court    can more appropriately determine whether to

  appoint       one     or    two     attorneys     and    which   qualified        counsel    to

  appoint.      In summary,          the Motion is premature,           leaving the court no

  meaningful         way to    exercise its       discretion at        the appropriate time

  as     to    how    many     and    who   to    appoint    as    qualified      counsel     for

  collateral proceedings,              if warranted.

          Accordingly, Ms. Stanton's Motion is DENIED,                     as is the pro hac

  vice application for a federal public defender from the District of

  Maryland to be appointed as counsel at this time.                        These denials are

  without prejudice to the Defendant's right and ability,                           or that of




  time to properly prepare his § 2255 motion prior to the statutory
  filing deadline [one-year statute of limitations]." Mem. at 3.
  However, the court notes that the trial record is complete and all
  proceedings have been transcribed, making the full trial record
  readily and immediately available to any counsel filing a § 2255
  motion for the Defendant.


  9    Moreover,        appellate       counsel     may     want   to     proceed    with     any
  collateral proceedings, thereby preserving legal resources, or they
  may wish to withdraw, all depending upon the outcome of the direct
  appellate review and any potential issues for collateral review;
  but they can make this decision at the appropriate time, as can the
  court.
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  his   appellate          counsel,   to petition      the      court    for    habeas    corpus

  counsel, if needed at the appropriate time.10

          The    Clerk     is   DIRECTED    to    forward   a   copy     of   this   Memorandum

  Order     to       the   Defendant,      appellate    counsel         of    record    for    the

  Defendant,         the United States Attorney for the Eastern District of

  Virginia,          Ms.   Stanton,   and   the    Federal      Public       Defender    for   the

  District of Maryland.

          IT    IS   SO ORDERED.

                                                                 isL
                                                    Rebecca Beach Smith
                                                    United States District Judge>%&-
                                                 REBECCA BEACH SMITH
                                                 CHIEF UNITED STATES DISTRICT JUDGE


  December ^0 » 2013




  10 See supra note 9 and accompanying text. Additionally, Ms. Stanton
  and the public defender from the District of Maryland may again
  petition the court to be habeas corpus counsel in this case,
  provided the proper requirements are met, and the court ultimately
  finds no impropriety in the current submissions. See supra notes 1
  and 3 .
